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                             Exhibit 7
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                         H AM C                                 WORLD             BH C
                                                                    3 23 2011
                       UNITED STATES                                                           CA
                             CALIFORNIA                                         DIRT     Dago    Ron
                                                                                FCI Victorville
BUTCH         Berdoo Lee     Frazier B91477
                                                                                P O Box 5300
Tehachapi Correctional        Institution
                                                                                Adelanto Californ
Unit 2   Dorm 5 91 L
PO Box       608    State Prison                                                BRIAN       Dago     B
Tehachapi      California 93581                                                 Kern Valley State

                                                                                PO Box    5104
POLOCK JOHN              Frisco John Gzikowski D00666
                                                                                Delano    California
Ironwood State Prison
P O Box 2199                                                                    GUY Dago         Gu
Blythe California 92226                                                         USP   Lee County
                                                                                P O Box 305
JR      Frisco Carl Serrano        25526 053
                                                                                Jonesville   Virgini
FCI      Lompoc          E06 0446
3600 Guard Road                                                                 ROCCO Dago
Lompoc       California 93436                                                   Chuckawalla      State

                                                                                P O Box 2349
ANGELO             Oakland                      97685 011
                             Angelo Trengali
                                                                                D9    247    Upper
Correctional Institution      Taft
                                                                                Blythe California
P O Box 7001
Taft Californina 93268                                                          NICK Dago         Fra

                                                                                U SP Attwater
JOHN      Oakland       John Wilbur F14783
                                                                                P O Box 19001
P O Box 2500
                                                                                Attwater Californ
Susanville     California    96127 2500
                                                                                GREG Dago          G
BUCK         Nomads     Ca Otis Garrett     04796 097
                                                                                U SP Victorville
U SP Victorville
                                                                                P O Box 5500
P O Box 5500                                                                    Adelanto Californ
Adelano      CA 92301
                                                                                WHITEY        Dago
DANNY RAY             Nomads   Ca Daniel     LaJocies   13857 097
                                                                                38 03 L
Federal Correctional Institution
                                                                                FCC 5150     Obyrne
37910    N   45th Ave
                                                                                Jamestown Califo
Phoenix Arizona 85086

                                                                                DAMO        Dago D
RANDY         Nomads    Ca Randy Picchi        0660936
                                                                                Mohawk      A 114
40935    MJ    3F 012
                                                                                Federal Correction
P O Box 892                   NL Returned       07 02 06
                                                                                P O Box 7007
Fresno California 93712
                                                                                Marianna     Florida


ALBERT         San Jose      Albert Solis   V72145                              CHAD Dago          Ch
Cascade      0608 U
                                                                                PO Box    5911
P O Box 2500                                                                    Sioux Falls South
Susanville     Ca    96127
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                           H AM C                            WORLD            BH C
                                                              3 23 2011
                      ARIZONA            Continued

ROD       Phoenix Rodney Cox Sr 257494                                    CORKY Omaha
City of Las Vegas Detention          Center                               FCI    El Rerno

3300 Stewart Avenue                                                       Highway 66
Las   Vegas Nevada 89101                                                  El   Reno Oklahom

KEVIN Mesa           Kevin Augustiniak        P155443                     GARY Omaha           G
Fourth    Avenue    Jail                                                  FCI Waseca
201 South Fourth Avenue                                                   Unit A

Phoenix     AZ    85003                                                   P O Box 1731
                                                                          Wasceca   Minneso
DENNIS        Nomads       Dennis Den Besten     80995 008
Florence    State Prison

P O Box 6300                  Letter returned     11 02 06                FRIZZY       Clevela
Florence Arizona 85232                                                    FCI Schuykill
                                                                          P O Box 759
SNAKE Nomads               Greg Surdukan    46164008
                                                                          Minersville    Penn
FMC Lexington
Federal Medical Center                                                    STEVEN        Clevel
P O Box 14500                                                             North Central Cor
Lexington Kentucky 40512                                                  P    O Box   1812

                                                                          Marion Ohio 433
DOUG Tucson Douglas Dam                 93273 008
FCI Terminal Island                                                       MARK      Clevelan
1299 Seaside Avenue           Box 3007                                    GCI
Terminal Island California 90731
                                                                          2500 South       Avo
                                                                          Grafton Ohio 44
SLUT DOUG            Phoenix Douglas Wistrom 04986 748
FCI La Tuna
P O Box 3000
Anthony Texas 88021
                                                                          LOUSY        Chicag
PEPPI Phoenix          Gregory Heine       71073 053                      RR2
FCI       Herlong                                                         Box 31
PO Box      800                                                           Sumner    Illinois   6

Herlong California 96113
                                                                          GREASE        Rockf
                                                                          PO    Box 1700
                             WASHINGTON                                   Galesburg Ilinois    6


SMILIN RICK Nomads                  Washington
Richard     Fabel   11096 006
Federal Detention      Center                                             CHANCE        Noma
Unit   DC                                                                 FCIFSL        Elkton

PO Box      13900                                                         P O Box 10
Seattle Washington          98198                                         Lisbon    Ohio    444
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                        H AM C                                      WORLD           BH C
                                                                       3 23 2011
                   NEW YORK                  Continued                                            CA
MATT       New Roc    City Matthew O'Dell               84114 054
                                                                                   MAGEL       Quebec
FCI Allenwood      Unit   2   B                                                    Establissement Le
PO Box   2000
                                                                                   400 Montee St F
White Deer Pennsylvania           17887
                                                                                   Laval   QC Canada
JEFF New Roc City Jeff Amato 05A                   2529                            BOB     Quebec Ci
Coxsacki Correctional         Facility
                                                                                   Establissement Le
Coxsacki     New   York 12051
                                                                                   400 Montee St F

                                                                                   Laval   QC Canada
ED New York         Edward        Hartley   11849 052
U SP Canaan                                                                        RICHARD       EC
P O Box 300                                                                        Establissement Le
Waymart      Pennsylvania      18472
                                                                                   400 Montee St F
                                                                                   Laval   QC Canada
FAST EDDIE         Rochester Edward Weathers               01688 055
Low   Security Correctional        Institute Allenwood
                                                                                   NURGET       ECC
P O Box 1000                                                                       Establissement Le
White Deer Pennsylvania             17887
                                                                                   400 Montee St F

                                                                                   Laval   QC Canada
                              NEW JERSEY
                                                                                   PUP     E CC Don
SHAGGY Newark             Thomas Hickman            345908                         Establissement Le

MacDougall Walker         Correctional      Institute                              400 Montee St F
1153 East St South                                                                 Laval   QC Canada
Suffield Connecticut          06080
                                                                                   GAET     Montreal

                                                                                   Establissement Le
                          CONNETICUTT
                                                                                   400 Montee St F

DANNY        Nomads     Ct     Danny Klimas        279671                          Laval   QC Canada
Macdougall Walker         Correctional      Institute
                                                                                   DANIEL      Quebec
1153 East St South
                                                                                   Establissement Le
Suffield Connecticut          06080
                                                                                   400 Montee St F
                                                                                   Laval   QC Canada
                     MASSACHUSETTES
                                                                                   ALAIN     Quebec
LUDLOW MIKE             Berkshire        Co Mike    Szlosek   W83802               Establissement Le
500 Clolony Road                                                                   400 Montee St F
P O Box 466                                                                        Laval   QC Canada
Gardner Massachusettes            01440     0466
                                                                                   LUC     Trois Rivie

JOHNNY BART             Boston John Bartolomeo 21270 038                           Establissement Le
USP   Lee County                                                                   400 Montee St F
P O Box 305                                                                        Laval   QC Canada
Jonesville   Virginia   24263 0305
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                          H AM C                                  WORLD               BH C
                                                                        3 23 2011
DON       Thunder Bay            Donald Minier                                                         FR
Stony Mountain       Institution
                                                                                    BALLU          prospect
Highway      7    PO Box       4500
                                                                                    JVA    Diez
Winnipeg     Manitoba      R3C 3W8       Canada
                                                                                    Limburgerstrasse

SHAWN        London Ontario Shawn Boshaw                                            65582     Diez Ger

Joyceville Institution
                                                                                    MOUS        prospect
Hwy 15 PO Box 880
                                                                                    Cellule   193
Kingston Ontario K7L 4X               Canada
                                                                                    Ecrou 7858 Bat       B
LUCKY       Nomads Ontario            Brett   Simmons                               13350 Tarascon F

Joyceville Institution

Hwy 15 PO Box 880
Kingston Ontario K7L 4X               Canada

                                                                                    POCI
MOM ECC Maurice
                                                                                              Barcelona
                                  Boucher
                                                                                    Modulo     2
Regional    Reception     Center
                                                                                    CP De     Cuatre Cam
246 Montee Gagnon
                                                                                    Apartado 335
Sainte   Anne des Plaines
                                                                                    08400 Granollers
Quebec     J0N 1H0      Canada
                                                                                    Barcelona Spain

CLAUDE          Trois Rivieres Claude Giguere
                                                                                    SUPER       Barcelo
Donnaconna        Institution
                                                                                    2 Galeria
1528 Rte 138
                                                                                    Aptd    Oficial   de co
Donnaconna        QC    Canada    G0A 1T0                                           08080 Barcelona

SYLVAIN          Trois Rivieres       Sylvain Thifault
                                                                                    RICHY Madrid
Archambault       Institution         NL Returned 09 19 06
                                                                                    Centro Penitencia
242 Montee Gagnon                     marked     Refused by addressee
                                                                                    Carretera      De Meco
Sainte   Anne des Plaines          Quebec      J0N 1H0   Canada
                                                                                    28805 Alcala de H

                                                                                    Madrid Spain
DONAT       Montreal Jean Paul Ramsey

Archambault       Institution
                                                                                    DIRK Lisbon          D
242 Montee Gagnon
                                                                                    JVA    Düsseldorf
Sainte   Anne des Plaines Quebec J0N 1H0 Canada
                                                                                    Vogelsangerweg         2
                                                                                    40470 Düsseldorf
PARIS      North Toronto Paris Christofaru

Collins   Bay    Institution
                                                                                    ALFONSO Mad
1455 Bath Road
                                                                                    Centro Penitencia
PO Box     190
                                                                                    Carretera Naciona
Kingston Ontario Canada            K7L 4V9                                          50800 Zuera

                                                                                    Zaragoza Spain
JEFF Keswick            Michael   J   Mcilmurray 926710B

Warkworth       Institution

County Road        29

P O Box 760
Campbellford Ontario            K0L 1L0       Canada                                JP Ghent        Jean P
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                        H AM C                      WORLD                 BH C
                                                       3 23 2011
                             GERMANY                                                  GE
CHEMO         Hannover       Dominic Gern                               ANDREE          West
JVA   Geeste                                                            JVA Bremen
Kirschenstraße 15                                                       Sonnemannstrasse

49744 Geeste                                                            28239 Bremen G


ANDRE         Hannover Andre Stehnke                                    UHU     West Side
JVA   Glasmoor                                                          JVA Bremen
Am Glasmoor       99                                                    Sonnemannstrasse

22851 Norderstedt Germany                                               28239 Bremen G


RUDI Lahr        Rudi Walter                                            NILS Westend
JVA   Freiburg                                                          JVA Weiterstadt
Hermann Herderstrasse 8                                                 Vor den Löserbeck
79104 Freiburg Germany                                                  64331 Weiterstad


RONNY         Mannheim Zvonko       Simic                               SCHLAMPER
JVA   Darmstadt                                                         JVA   Bruchsal

Marienburgstrasse       74                                              Kislauer   Weg 5
64297 Darmstadt Germany                                                 76669 Bad Schon


PRELLI        Munich    Mattias Klüber                                  RAUL       Essen   R

JVA   Landsberg                                                         JVA   Essen
Hindenburgring     12                                                   Kravelstrasse    59
86899 Landsberg Germany                                                 45130 Essen Ger


GERHARD          Konstanz Gerhard     Schaal                            SIGGI Essen        S

JVA   Rottenburg                                                        JVA
Schloss   1                                                             Landgerichstrasse

72108 Rottenburg Germany                                                47051 Duisburg


GILBERT         Frankfort Gilbert Grigorenko                            SCHIFER         Reutl
JVA   Friedberg                                                         JVA   Tübingen

Homburgerstrasse       18                                               Doblerstrasse    18
61169 Friedberg Germany                                                 72074 Tübingen


                                                                        HOPPE Nomad
MICHA         Frankfort Michael Dibowski
                                                                        c o HAMC Noma
JVA
                                                                        Greifswalder Stras
Vor den Löserbecken          4
                                                                        10405 Berlin Ge
64331 Weiterstadt       Germany

                                                                        THOMAS          Sing
GERHARD          HAMC Gerhard        Hachenberger
                                                                        JVA Stammheim
JVA   Diez
                                                                        Asperger    Straße 6
Limburger Strasse 122
                                                                        70439 Stuttgart G
65582 Diez Germany
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                                                           3 23 2011
                DENMARK                  continued

K   Aalborg      Jesper Kristoffersen                                    BASS Haarlem
Statsfængslet    i   Østjylland                                          HVB De      Schie

Afdeling   E                                                             Prof   Jonkersstrat

Frodedalsvej    3                                                        3041 JL Rotterdam
8700 Horsens Denmark
                                                                         MARCO           North
NILLER     Aalborg        Niels   C Petersen                             AFD E      Pi Esserh

Statsfængslet    i   Østjylland                                          Meidoornlaan 38
Afdeling   E                                                             9341   AD   Veenhu

Frodedalsvej    3
8700 Horsens Denmark


KENNETH          Aarhus Kenneth Skovbjerg
                                                                         HANS Hamar            H
Statsfængslet    i   Østjylland
                                                                         Ullersmo fengsel
Afdeling   E                                                             Postboks   2
Frodedalsvej    3
                                                                         2040 Kløfta      Norw
8700 Horsens Denmark

                                                                         EKERN Hamar
THOMAS          Randers Thomas Olesen                                    Ullersmo fengsel
Statsfængslet    i   Østjylland                                          Postboks   2
Afdeling   E                                                             2040 Kløfta      Norw
Frodedalsvej    3
8700 Horsens Denmark                                                     LARS Oslo         Lar

                                                                         Ullersmo fengsel
BRANDERBORG               Randers Christian Branderborg                  Postboks    2
Statsfængslet    i   Østjylland                                          2040 Kløfta Norw
Afdeling   E
Frodedalsvej    3                                                        LUFFE Oslo            Le

8700 Horsens Denmark                                                     Ullersmo Fengsel
                                                                         Postboks    2
LUCKY      Randers       Lars Dalgard                                    2040 Kløfta Norw
Statsfængslet    i   Østjylland

Afdeling   E                                                             ROTTA          Oslo   T

Frodedalsvej    3                                                        Ullersmo Fengsel

8700 Horsens Denmark                                                     Ullersmovn
                                                                         Postboks    2

WISSING        Aalborg     Brian Wissing                                 2040 Kløfta Norw
Statsfængslet    i   Østjylland

Afdeling   E                                                             ARNE       Oslo Arn
Frodedalsvej    3                                                        Ullersmo Fengsel

8700 Horsens Denmark                                                     Ullersmovn
                                                                         Postboks    2
PAYMAN          Randers Payman Khademi                                   2040 Kløfta Norw
Aarhus Arrest

Christiansgade       1                                                   JAN Oslo         Jan H
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                          H AM C                      WORLD                BH C
                                                         3 23 2011
                                FINLAND                                                AUS
PASI Nomads            Pasi   Törmänen                                    JAMES Darwin
Helsingin Vankila                                                         GPO Box 1407
Pl   40                                                                   Darwin 0801 Aus

00581 Helsinki Finland
                                                                          PETER       City   Cr
                                                                          Parklea Correction
                                SWEDEN                                    Box 6148
                                                                          Blacktown    2148
ERIK       Karlstad Erik Moberg

KVA       Storboda                                                        SAM      prospect C

195 95 Roserberg Sweden                                                   Silverwater Corre

                                                                          Locked    Mail Bag
PATTEN         Karlstad Patrik Karlsson                                   Silverwater Austra
Kronobergshäktet

Box 12106
102 23 Stockholm Sweden


HJORT          Karlstad Stefan Hjorth                                     JORGE Rio          Jor

                                                                          Presídio Esmeral
Häktet      Karlstad
                                                                          Estrada Emilio M
Box 61
                                                                          Bangú     Rio de Ja
651 03 Karlstad Sweden


DANI Stockholm            Dani Virtanen

KVA       Svartsjö

179 05 Svartsjo Sweden


RUNE Malmoe              Rune   Nilsson

Anstalten Kolmården

Torsvägen
618 33 Kolmarden Sweden


MIKA Stockholm             Mika Touminen
KVA Svartsjö
179 05 Svartsjo Sweden


JOHAN         Prospect   Stockholm Johan Bergh
Kronobergshäktet

Box 12106
102 23 Stockholm          Sweden


ANTE prospect          Eastside Anders Björkman

KVA Kolmården
Torsvägen                 N L Returned     08 22 06
618 33 Kolmården Sweden
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                                                      3 23 2011
                            ANNIVERSARY              PROJECTED RELEA
BUTCH Berdoo       Lee Frazier                                         Anniversary date

 Anniversary date                   11 01 67                           Projected   Realeas
 Projected   Realease   Date        Life

                                                                   GUY      Dago Guy
POLOCK JOHN         Frisco John Gzikowski                              Anniversary date

 Anniversary date                   01 17 86                           Projected   Realeas

 Projected   Realease   Date        12 21 04
                                                                   NICK Dago         Nick

JR   Frisco Carl Serrano                                               Anniversary date
 Anniversary date                   03 05 82                           Projected   Realeas

 Projected   Realease   Date
                                                                   GREG      Dago     Gre
JP   Frisco Jason Peterson                                             Anniversary date

 Anniversary date                                                      Projected   Realeas
 Projected   Realease   Date
                                                                   WHITEY          Dago   P

BRUCE Sonoma County Bruce                Cooper                        Anniversary date

 Anniversary date                   12 16 93                           Projected   Realeas
 Projected   Realease   Date
                                                                   DAMO       Dago Day
FRANK    Sonoma County Frank Brady                                     Anniversary date

 Anniversary date                   08 07 92                           Projected   Realeas

 Projected   Realease   Date       01 01 09
                                                                   CHAD Dago          Cha
BUCK Nomads       California Otis Garrett                              Anniversary date
 Anniversary date                   03 28 73                           Projected   Realeas

 Projected   Realease   Date
                                                                   PAT     prospect   Dag
DANNY RAY Nomads Ca              Daniel LaJocies                       Anniversary date

 Anniversary date                                                      Projected   Realeas

 Projected   Realease   Date        03 19 07
                                                                   DJ     prospect    Dag
RANDY Nomads       Ca Randy       Picchi                               Anniversary date

 Anniversary date                                                      Projected   Realeas
 Projected   Realease   Date
                                                                   SMILIN RICK N
ALBERT       San Jose   Albert   Solis                                 Anniversary date

 Anniversary date                                                      Projected   Realeas

 Projected   Realease   Date
                                                                   RICKY      Nomads W
TONY    Merced   Co Tony       Aquino                                  Anniversary date
 Anniversary date                                                      Projected   Realeas

 Projected   Realease   Date
                                                                   CAL     Phoenix Ca
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 Projected   Realease   Date       07 25 14                            Projected   Realeas



DOUG     Tucson Douglas      Dam                                  MATT New          Roc C
 Anniversary date                                                      Anniversary date

 Projected   Realease   Date       05 10 08                            Projected   Realeas



SLUT DOUG        Phoenix Douglas Wistrom                          JEFF New Roc C
 Anniversary date                                                      Anniversary date
 Projected   Realease   Date                                           Projected   Realeas



PEPPI Phoenix Gregory          Heine                              ED New       York    E
 Anniversary date                                                      Anniversary date
 Projected   Realease   Date                                           Projected   Realeas



CHRIS Las Vegas         Chris Wilson 05867 090                    FAST EDDIE Roc
 Anniversary date                                                      Anniversary date

 Projected   Realease   Date                                           Projected   Realeas


CORKY Omaha         Dale Haley                                    SHAGGY           Newark
 Anniversary date                  05 15 69                            Anniversary date

 Projected   Realease   Date       319 08                              Projected   Realeas


GARY Omaha        Gary Apker                                      LUDLOW MIKE
 Anniversary date                                                      Anniversary date
 Projected   Realease   Date                                           Projected   Realeas


ROOSTER        Minneapolis     Paul Seydel                        JOHNNY BART
 Anniversary date                                                      Anniversary date
 Projected   Realease   Date                                           Projected   Realeas



FRIZZY    Cleveland John Bonds                                    GREG       Salem Gre
 Anniversary date                  04 08 88                            Anniversary date

 Projected   Realease   Date                                           Projected   Realeas



STEVEN       Cleveland Steven Yee                                 BIKER DAN           Sal
 Anniversary date                  06 28 84                            Anniversary date

 Projected   Realease   Date                                           Projected   Realeas



MARK     Cleveland      Mark   Verdi                              TONY        Salem An
                                                                       Anniversary date
 Anniversary date                  05 20 88
 Projected   Realease   Date                                           Projected   Realeas



LOUSY    Chicago Len      Stocki                                  DANNY Nomads
 Anniversary date                  12 02 94                            Anniversary date

 Projected   Realease   Date                                           Projected   Realeas
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 Projected   Realease   Date                                           Projected    Realeas


WALTER       Quebec   City    Walter Stadnick                     LUCKY Nomads
 Anniversary date                                                      Anniversary date

 Projected   Realease   Date                                           Projected    Realeas


PUP Quebec City Donald          Stockford                         MICHAEL           Kesw
 Anniversary date                                                      Anniversary dat
 Projected   Realease   Date                                           Projected    Realeas


MOM     Quebic City Maurice Boucher                               KV       South    West
 Anniversary date                                                      Anniversary date
 Projected   Realease   Date                                           Projected    Realeas


CLAUDE       Quebec City Claude Giguere                           VINCENT           Cote   D
 Anniversary date                                                      Anniversary date
 Projected   Realease   Date                                           Projected    Realeas


GAET    Montreal Gaetan Comeau                                    MARCO            Paris   M
 Anniversary date                                                      Anniversary date
 Projected   Realease   Date                                           Projected    Realeas


RICHARD       Trois Rivieres Richard Valle                        BALLU       prospect
 Anniversary date                                                      Anniversary date
 Projected   Realease   Date                                           Projected    Realeas


DANIEL Quebec City           Daniel   Hudon                       MOUS       prospect      N
 Anniversary date                                                      Anniversary date
 Projected   Realease   Date                                           Projected    Realeas


ALAIN Quebec City        Alain Harton                             WEISER           Bolzano
 Anniversary date                                                      Anniversary date
  Projected Realease    Date                                           Projected    Realeas


LUC    Trois Rivieres   Luc   Alaire                              POCI Barcelona
 Anniversary date                                                      Anniversary date
 Projected   Realease   Date                                           Projected    Realeas


GUY    South   Guy Dube                                           DIRK Lisbon          Dir
 Anniversary date                                                      Anniversary date

 Projected   Realease   Date                                           Projected    Realeas


YVES    South Yves Leduc                                          ALFONSO Madr
 Anniversary date                                                      Anniversary date
 Projected   Realease   Date                                           Projected    Realeas
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                   H AM C                       WORLD                    BH C
                                                      3 23 2011
ANDRE Hannover          Andre Stehnke                             SIGGI      Essen    Sie

 Anniversary date                   12 13 02                           Anniversary date
 Projected   Realease   Date                                           Projected   Realeas


RUDI Lahr Rudi      Walter                                        HOPPE Nomads
 Anniversary date                   01 03 03                           Anniversary date

 Projected   Realease   Date                                           Projected   Realeas



RONNY     Mannheim Zwonko         Simic                           THOMAS           Singen
 Anniversary date                   02 02 00                           Anniversary date

 Projected   Realease   Date                                           Projected   Realeas



PRELLI    HAMC     Munich      Mattias Klüber                     SCHIFER          Reutlin

 Anniversary date                  12 14 02                            Anniversary date
 Projected   Realease   Date                                           Projected   Realeas



GERHARD        Konstanz Gerhard Schaal                            KARSTEN          prospe

 Anniversary date                  11 29 02                            Anniversary date

 Projected   Realease   Date                                           Projected   Realeas



GILBERT      HAMC       Gilbert Grigorenko                        FE      Nomads Denm
 Anniversary date                   11 12 99                           Anniversary date

 Projected   Realease   Date                                           Projected   Realeas


MICHA     Frankfort Michael Dibowski                              KRUDT        Copenha
 Anniversary date                   11 01 03                           Anniversary date

 Projected   Realease   Date                                           Projected   Realeas


GERHARD       HAMC       Gerhard Hachenberger                     SVEND Nomads D
 Anniversary date                  11 12 99                            Anniversary date

 Projected   Realease   Date                                           Projected   Realeas



RENE     HAMC    Rene Grabowski
                                                                  K     Aalborg     Jespe

 Anniversary date                   11 12 99                           Anniversary date
                                                                       Projected   Realeas
 Projected   Realease   Date


ROLF     HAMC    Rolf   Hübner                                    NILLER       Aalborg

 Anniversary date                   11 12 99                           Anniversary date
                                                                       Projected   Realeas
 Projected   Realease   Date


BEBBI    HAMC     Stephan Laps
                                                                  THOMAS           Rande
                                                                       Anniversary date
 Anniversary date                   12 09 94
                                                                       Projected   Realeas
 Projected   Realease   Date


WILLY    HAMC      Carsten Hertzel                                BRANDERBORG
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                                                      3 23 2011
MARTIN       Odense   Martin    Y    Smith                        ARNE Oslo Arne
 Anniversary date                                                      Anniversary date

 Projected    Realease   Date                                          Projected    Realeas


TORBEN Odense Torben             Nielsen                          JAN Oslo Jan He
 Anniversary date                                                      Anniversary date

 Projected    Realease   Date                                          Projected    Realeas


GRAMMY         Odense Thomas Gramstrup                            LUFFE Oslo           Leif

 Anniversary date                                                      Anniversary date
 Projected    Realease   Date                                          Projected    Realeas


PASI   Nomads     Pasi   Törmänen                                 ROTTA        Oslo    To

 Anniversary date                                                      Anniversary date

 Projected    Realease   Date                                          Projected    Realeas
                                                                  LEIF      Trondheim
ERIK Karlstad      Erik Moberg                                         Anniversary date
 Anniversary date                                                      Projected    Realeas

 Projected    Realease   Date
                                                                  ESPEN       Oslo Esp
PATTEN Karlstad          Patrik Karlsson                               Anniversary date
 Anniversary date                                                      Projected    Realeas

 Projected    Realease   Date
                                                                  BASS Haarlem            B

HJORT        Karlstad    Stefan Hjorth                                 Anniversary date

 Anniversary date                                                      Projected    Realeas

 Projected    Realease   Date
                                                                  MARCO            North C
                                                                       Anniversary date
DANI Stockholm Dani         Virtanen
 Anniversary date                                                      Projected    Realeas

 Projected    Realease   Date
                                                                  YOUNG RAY No
RUNE Malmoe        Rune    Nilsson                                     Anniversary date

 Anniversary date                                                      Projected    Realeas

 Projected    Realease   Date
                                                                  PETER Sidney           P

MIKA    Stockholm Mika Touminen                                        Anniversary date
                                                                       Projected    Realeas
 Anniversary date
 Projected    Realease   Date
                                                                  JAMES        Darwin
JOHAN    Prospect Stockholm Johan Bergh                                Anniversary date

 Anniversary date                                                      Projected    Realeas

 Projected    Realease   Date
                                                                  PETER CityCrew
                                                                       Anniversary date
ANTE    prospect Eastside       Anders Björkman
